Case 1:21-cv-00091-RGA Document 270-2 Filed 01/03/24 Page 1 of 1 PageID #: 16873




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  MHL CUSTOM, INC.,              )
                                 )
         Plaintiff,              )
                                 )
                     v.          )                   C.A. No.: 21-091-RGA
                                 )
  WAYDOO USA, INC. and SHENZHEN  )
  WAYDOO INTELLIGENCE TECHNOLOGY )
  CO., LTD.,                     )
                                 )
         Defendants.             )

                                   [PROPOSED] ORDER

          WHEREAS, the Court having considered Haug Partners’ and RLF’s Motion for

 Permission to Withdraw as Counsel (the “Motion”),

          IT IS HEREBY ORDERED this ______ day of _______________, 2023, that the Motion

 is GRANTED.




                                           _________________________________
                                           UNITED STATES DISTRICT JUDGE




 RLF1 30400864v.1
